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12   Attorneys for Plaintiffs
13
14                           UNITED STATES DISTRICT COURT

15                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     ADAM BRANDY, an individual, et al.,                  Case No. 2:20-cv-2874
17
18                          Plaintiffs,                   PLAINTIFFS’ NOTICE OF VOLUNTARY
                                                          DISMISSAL OF DEFENDANTS GAVIN
19         vs.                                            NEWSOM AND SONIA Y. ANGELL
20
                                                          [FRCP 41(a)(1)(A)(i)]
21   ALEX VILLANUEVA, in his official
22   capacity as Sheriff of Los Angeles
     County, California, and in his capacity as
23   the Director of Emergency Operations, et
24   al.,
25                           Defendants.
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                 NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS GAVIN NEWSOM AND SONIA Y. ANGELL
                                               CASE NO. 2:20-cv-2874
Case 2:20-cv-02874-AB-SK Document 53 Filed 07/08/20 Page 2 of 7 Page ID #:548



 1                NOTICE OF VOLUNTARY DISMISSAL OF
             DEFENDANTS GAVIN NEWSOM AND SONIA Y. ANGELL
 2
 3         PLEASE TAKE NOTICE that pursuant to Rule 41(a)(1)(A)(i) of the Federal
 4   Rules of Civil Procedure, Plaintiffs Adam Brandy, Jonah Martinez, Daemion
 5   Garro, DG2A Enterprises Inc., d.b.a. Gun World, Jason Montes, Weyland-Yutani
 6   LLC d.b.a. Match Grade Gunsmiths, Alan Kushner, The Target Range, Tom Watt,
 7   A Place To Shoot, Second Amendment Foundation, California Gun Rights
 8   Foundation, National Rifle Association of America, and Firearms Policy Coalition,
 9   Inc. (“Plaintiffs”), and pursuant to the Stipulation attached hereto as Exhibit A,
10   hereby file this Notice of Voluntary Dismissal, without prejudice, as to Defendants
11   GAVIN NEWSOM, sued in his official capacity as Governor and Commander in
12   Chief of the State of California, and SONIA Y. ANGELL, sued in her official
13   capacity as California Public Health Officer.
14
15    Dated: July 8, 2020                         SEILER EPSTEIN LLP
16
17                                                /s/ George Lee
                                                  George M. Lee
18
19                                                Attorney for Plaintiffs

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               NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS GAVIN NEWSOM AND SONIA Y. ANGELL
                                             CASE NO. 2:20-cv-2874
Case 2:20-cv-02874-AB-SK Document 53 Filed 07/08/20 Page 3 of 7 Page ID #:549




                                EXHIBIT A
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12   Attorney for Plaintiffs
13
14                               UNITED STATES DISTRICT COURT

15                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     ADAM BRANDY, an individual, et al.,                        Case No. 2:20-cv-2874
17
18                             Plaintiffs,                      STIPULATION RE: DISMISSAL OF
                                                                DEFENDANTS GAVIN NEWSOM AND
19             vs.                                              SONIA Y. ANGELL
20
21   ALEX VILLANUEVA, in his official
22   capacity as Sheriff of Los Angeles
     County, California, and in his capacity as
23   the Director of Emergency Operations, et
24   al.,
25                              Defendants.
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28   //


          STIPULATION FOR DISMISSAL OF DEFENDANTS GOV. GAVIN NEWSOM AND SONIA Y. ANGELL | CASE NO. 2:20-cv-2874
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 1           STIPULATION RE: DISMISSAL OF STATE DEFENDANTS
            GOVERNOR GAVIN NEWSOM, AND DR. SONIA Y. ANGELL
 2
 3          The parties hereto, by and through their counsel undersigned, hereby agree
 4   and STIPULATE as follows:
 5
 6                                               RECITALS
 7          1.     On March 27, 2020, Plaintiffs filed their Original Complaint (Dkt. No.
 8   1) and on March 29, 2020, filed their First Amended Complaint (Dkt No. 9).
 9          2.     On March 30, 2020, Plaintiffs filed their Application for a Temporary
10   Restraining Order and Order to Show Cause Why a Preliminary Injunction Should
11   Not Issue (Dkt. No. 14) (“TRO Application”).
12          3.     On April 2, 2020, counsel for State Defendants GAVIN NEWSOM,
13   sued in his official capacity as Governor and Commander in Chief of the State of
14   California, and SONIA Y. ANGELL, sued in her official capacity as California
15   Public Health Officer (“State Defendants”) agreed to accept service by email on
16   behalf of the State Defendants, and Plaintiffs served the State Defendants by email
17   on April 2, 2020.
18          4.     At issue in the First Amended Complaint was the issuance, meaning
19   and effect of Executive Order N-33-20, which addressed the spread of COVID-19
20   in California (“Executive Order”).
21          5.     On April 3, 2020, State Defendants filed an Opposition to the
22   Plaintiffs’ TRO Application (Dkt. No. 24) (“Opposition”). In their Opposition, the
23   State Defendants asserted: “As the Governor has publicly confirmed, the
24   Executive Order does not mandate the closure of firearms and ammunition
25   retailers. To the extent any local official acting on his or her own authority
26   requires the closure of those retailers, such actions do not concern the Executive
27   Order.” (Opposition at 1:17-20). The Opposition further asserted: “The Executive
28


       STIPULATION FOR DISMISSAL OF DEFENDANTS GOV. GAVIN NEWSOM AND SONIA Y. ANGELL | CASE NO. 2:20-cv-2874
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 1   Order does not prohibit Plaintiffs from purchasing or selling firearms or
 2   ammunition or mandate the closure of firearms retailers.” (Opposition at 8:5-7).
 3          6.     The State Defendants’ position has been and remains that the
 4   challenged orders of Governor Newsom and Dr. Angell did not require the closure
 5   of firearm retailers, ammunition vendors, or shooting ranges. To the extent any
 6   local authority requires the closure of those retailers, vendors, or ranges, such
 7   action is not required by the State Defendants’ orders. The State Defendants’
 8   position is that this fact does not relieve Plaintiffs from any obligation to comply
 9   with the State Defendants’ orders. The State Defendants’ position is that if these
10   businesses remain open, they must comply with the guidelines and requirements
11   under the State Defendants’ orders that apply to all businesses.
12
13                                STIPULATION FOR DISMISSAL
14          NOW THEREFORE, and incorporating the foregoing recitals, Plaintiffs and
15   the State Defendants hereby STIPULATE to a dismissal by Plaintiffs of
16   Defendants GAVIN NEWSOM, sued in his official capacity as Governor and
17   Commander in Chief of the State of California, and SONIA Y. ANGELL, sued in
18   her official capacity as California Public Health Officer.
19
20    Dated: July 8, 2020                          SEILER EPSTEIN LLP
21
22
                                                   George M. Lee
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24                                                 Attorney for Plaintiffs
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       STIPULATION FOR DISMISSAL OF DEFENDANTS GOV. GAVIN NEWSOM AND SONIA Y. ANGELL | CASE NO. 2:20-cv-2874
                                                      –3–
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 1   Dated: July 8, 2020                          Xavier Becerra
                                                  ATTORNEY GENERAL OF CALIFORNIA
 2                                                Mark R. Beckington
 3                                                Supervising Deputy Attorney General
 4
 5                                                Peter H. Chang
 6                                                Deputy Attorney General
 7                                                Attorneys for Defendants Gavin Newsom, in
                                                  his official capacity as Governor and Sonia
 8                                                Y. Angell, in her official capacity as
 9                                                California Public Health Officer
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      STIPULATION FOR DISMISSAL OF DEFENDANTS GOV. GAVIN NEWSOM AND SONIA Y. ANGELL | CASE NO. 2:20-cv-2874
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